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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


 PARKERVISION, INC.,

         Plaintiff,

                 v.                                   Case No. 6:23-cv-00384-ADA

 TEXAS INSTRUMENTS INCORPORATED,                      JURY TRIAL DEMANDED

         Defendant.



ORDER GRANTING MOTION TO TRANSFER TO THE UNITED STATES DISTRICT
   COURT FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION

       THIS MATTER came before the Court on the Motion to Transfer to the United States

District Court for the Northern District of Texas, Dallas Division (the “Motion”) by Defendant

Texas Instruments Incorporated (“TI”).       Having reviewed and considered TI’s Motion, the

pleadings and papers of record, and the controlling legal authority, the Motion is GRANTED. As

soon as practicable, the Clerk of the Court shall take all actions necessary to effectuate transfer of

this matter to the United States District Court for the Northern District of Texas, Dallas Division.

       It is so ORDERED

       Dated this _____ day of ___________________, 2024




                                                      ___________________________

                                                      U.S. District Judge Alan Albright




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